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SETTLEMENT AGREEMENT REGARDING CLAIMS AGAINST
INTERIOR-EXTERIOR IN MDL NO. 2047

EXHIBIT 1.21 - LIST OF PENDING
SETTLEMENTS
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1.21. Pending Settlements

1. Pilot Remediation Program Settlement: Pursuant to (i) the September 23, 2010 Term
Sheet between Knauf and InEx and (ii) the subsequent “Settlement Agreement For the
Demonstration Remediation Of Homes With KPT Drywall” between the Plaintiffs’ Steering
Committee and Knauf, InEx has agreed to pay $18,750 per house towards the remediation of up
to 120 homes, for a total of up to $2,225,000.

* . Prior to the Execution Date of the Settlement Agreement, InEx has funded (i.e.
actually paid) its agreed $18,750 for 39 of the homes, as described in “Exhibit 1.23 — List |
of Prior Settlements,” for a total paid of $731,250.

° As of the Execution Date of the Settlement Agreement, InEx has agreed to pay,
but not yet paid, its $18,750 per home for up to 81 additional homes, for a total of up to
$1,518,750, which amount constitutes Pending Settlements.

2. Pritchard Housing Authority Settlement: As part of a settlement of the Pritchard Housing
Authority claim regarding 29 homes in Alabama, InEx has agreed to contribute $250,000, but
has not paid that amount as of the Execution Date. That settlement has, however, been put on
hold because one of the participants, The Mitchell Company, has refused to release its claims
against other of the participants. There is the possibility that a motion to enforce the settlement
may be filed in court. If that settlement goes forward for whatever reason, InEx has agreed to
pay $250,000 towards the total settlement amount, which constitutes a Pending Settlement.

3. 801 Rue Burgundy, No. 113, Metairie, Louisiana 70005: Pursuant to an oral agreement
between InEx and the owner of the referenced property, Evelyn Svendson, InEx has agreed to
remediate the referenced property as set forth in the United States Risk Management, LLC
Report Project No. 15090132-39. The settlement will include remediation of the referenced
property for a cost not to exceed $100,000.00, and this cost constitutes a Pending Settlement.

Total Amount of Pending Settlements:

Pilot Remediation Program $1,518,750
Pritchard Housing Authority 250,000
Svendson . 100,000

Total $1,868,750
